             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA :
                          :
    v.                    :                 NO. 3:19-CR-9
                          :
BRUCE EVANS SR. and BRUCE :                 JUDGE A. RICHARD CAPUTO
EVANS JR.,                :
                          :
         Defendants.      :                 ELECTRONICALLY FILED

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                  DEFENDANT BRUCE EVANS SR.’S
              MEMORANDUM OF LAW IN SUPPORT OF
         MOTION TO AUTHORIZE SUBPOENA DUCES TECUM
     ___________________________________________________________

I.    INTRODUCTION AND FACTUAL BACKGROUND


      The Government charged Defendant Bruce Evans Sr. with four counts of

environment crimes (33 U.S.C. §1319) and seven counts of wire fraud (18 U.S.C.

§1343).


      The Government asserts, inter alia, that Defendant Evans Sr. is criminally

responsible for the Greenfield Township Sewer Authority (“GTSA”) violating its

National Pollution Discharge Elimination Systems (“NPDES”) permit between

2013 and 2017. Additionally, the Government asserts that Defendant Evans Sr.

defrauded the GTSA of $2,415.09.
      In anticipation of trial, Defendant Evans Sr. exercises his right “to have

compulsory process for having witnesses in his favor” pursuant to the Sixth

Amendment to the United States Constitution, Fed. R. Crim. P. 17(c), and United

States v. Burr, 25 F. Cas. 187, 191 (1807).


      Subpoena #1 for the PADEP


      The Pennsylvania Department of Environmental Protection (“PADEP”)

possesses records important to the defense of this action. One defense of the

Defendant includes showing that the PADEP frequently, over the course of two

decades, appeared at the GTSA and had direct contact with Defendant Evans Sr.

Officials of the PADEP led representatives at the sewer authority to believe that

GTSA was properly operating its sewer plant. Such evidence supports a defense to

the instant criminal action. United States v. Penn. Indust. Chem. Corp., 411 U.S.

655, 674-75 (1973) (detrimental reliance); United States v. Pitt, 193 F.3d 751, 755-

58 (3d Cir. 1999) (actual and apparent governmental authority and entrapment by

estoppel); United States v. Weitzenhoff, 35 F.3d 1275, 1290 (9th Cir. 1994)

(entrapment by estoppel). The records will show also that the PADEP recognized

as the operators of the plant individuals other than the Defendant; and, specifically,

the records will show that Defendant Evans Sr. was not a plant operator. The


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records will disclose numerous inspections in which the PADEP does not issue

violations or admonitions; and, instead, approves the operation of the GTSA.

These records directly relate to Counts 1-4 of the Indictment.


      Subpoena #2 for the GTSA


      The GTSA possesses records necessary to demonstrate that Defendant Evans

Sr. was not a plant operator. The Government has falsely charged Defendant

Evans Sr. with operating the sewer plant in a way that violated its permit. The

GTSA records will show through Defendant Evans Sr. that his employment was as

a plant manager, not the plant operator, who was involved in issuing bills to

recipients of the sewer services, maintaining bank accounts and reporting to the

sewer board. The records will demonstrate that during 20-years of employment he

never served as an operator. The records will also reveal an internal audit in which

OTSA Board members were interviewed and provided exculpatory statements or

impeachment evidence related to the Government allegations of environmental

violations and fraud by Defendant Evans Sr. The Government charges Defendant

Evans Sr. with fraud in Counts 6-13 of the Indictment related to expenses for the

GTSA. The records sought will permit Defendant Evans Sr. to show his proper

handling of all finances from 2000 to 2018. The GTSA records will provide


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evidence to counsel for the defense to defend against both the allegations regarding

the environmental crimes as well as the claims of fraud.


      Subpoena #3 for AT&T


      AT&T possesses billing records related to Defendant Evans Sr.’s services to

the GTSA. The federal government charges Defendant Evans Sr. with fraudulently

charging the GTSA for payments in the amounts of $88.85 and $90.85 for a

telephone bill. See Indictment, Counts 6-7. Obtaining these records is critical to

the defense.


      Subpoena #4 for American Express


      American Express possesses records related to purchases for the GTSA, and

these records are critical to Defendant Evans Sr.’s defense against allegations of

fraud. In Counts 6-13, the Government charged Defendant Evans Sr. with

defrauding the GTSA in making purchases related to the sewer plant. Counts 10

and 11 of the Indictment specifically reference the American Express account and

purchases which the Government claims were not authorized. Obtaining the

American Express records is critical to the defense and will demonstrate proper

billing and approved processes.


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       Defendant Evans Sr. requests that Court to order the issuance of the

subpoenas attached to the Motion to Authorize Subpoena Duces Tecum.


II.    QUESTION PRESENTED


       Should this Court grant subpoenas duces tecum for pre-trial production of

records related to the defense pursuant to the Sixth Amendment of the United

States Constitution, Fed. R. Crim. P. 17(c) and United States v. Burr, 25 F. Cas.

187, 191 (1807)?

       SUGGESTED ANSWER:                Yes.


III.   AUTHORITY


       Two hundred and twelve years ago, in Burr, 25 F. Cas. at 191 (1807), Chief

Justice John Marshall enforced a subpoena duces tecum on behalf of the criminal

defendant Aaron Burr who had subpoenaed a letter written to President Thomas

Jefferson. The Court stated: “Yet it is a very serious thing, if such letter should

contain any information material to the defense, to withhold from the accused the

power to making use of it.” Id., 25 F. Cas. at 192. Justice Marshall found that,

“the only ground laid for the Court to act upon is the affidavit of the accused; and

from that the court is induced to order that the paper be produced, or the cause be


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continued.” Id. The records sought by Defendant Evans Sr. are as critical to the

defense of the instant criminal case as those sought by Arron Burr.


      (a.)   Constitutional


      The right of a criminal defendant to subpoena records in advance of trial in

his own defense is as old as our Nation. This Sixth Amendment to the United

States Constitution says in part:

             In all criminal prosecutions, the accused shall enjoy
             the right … to have compulsory process for
             obtaining witnesses in his favor …

U.S. Const. amend VI.

      (b.)   Statutory


      Rule 17(c) of the Federal Rules of Criminal Procedure fulfills the

Constitutional mandate as follows:

             A subpoena may order the witness to produce any
             books, papers, documents, data or other objects the
             subpoena designates. The court may direct the
             witness to produce the designated items in court
             before trial or before they are to be offered into
             evidence. When the items arrive, the court may
             permit the parties and their attorneys to inspect all
             or part of them.



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        (c.)   Jurispurdential

        The Court in United Sates v. Nixon, 418 U.S. 683, 700 (1974) established

the supremacy of subpoena power over executive privilege and said as follows:

               We have elected to employ an adversary system of
               criminal justice in which the parties contest all
               issues before a court of law. The need to develop
               all relevant facts in the adversary system is both
               fundamental and comprehensive. The ends of
               criminal justice would be defeated if judgments
               were founded on a partial or speculative
               presentation of the facts. The very integrity of the
               judicial system and public confidence in the system
               depend on full disclosure of all the facts, within the
               framework of the rules of evidence. To ensure that
               justice is done, it is imperative to the function of
               courts that compulsory process be available for the
               production of evidence needed either by the
               prosecution or by the defense.

        (d.)   “The Nixon Three-Part Test”


        The Supreme Court established a three-part test: (1) relevancy; (2)

admissibility; and (3) specificity. Nixon, 418 U.S. at 700.1 That test applied to the

instant facts provides the following:




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     See also, United States v. Eisenhart, 43 Fed. Appx. 500, 505 (3d Cir. 2002).

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                   1. Relevancy


      The subpoenaed documents are directly relevant to all thirteen counts of the

Indictment. In essence, the Government asserts that the Defendant criminally

caused the GTSA to violate its NPDES permit and that the Defendant defrauded

the GTSA of $2,415.09.


      Federal Rule of Evidence 401 says as follows:

             “Relevant evidence” means evidence having any
             tendency to make the existence of any fact that is of
             consequence to the determination of the action
             more probable or less probable than it would
             without the evidence.

      Subpoena #1 for the PADEP


      The PADEP records would demonstrate two decades of periodic (at least

annual) interaction with the operators of the GTSA, as well as, the manager of the

GTSA. The records will demonstrate that PADEP knew at all time that the

Defendant Evans Sr. was never an operator of the sewer plant. These records will

support a defense of detrimental reliance, actual and apparent authority on

government authority and entrapment by estoppel. United States v. Pennsylvania

Indus. Chem. Corp., 411 U.S. 655, 674-75 (1973) (detrimental reliance); United

States v. Pitt, 193 F.3d 751, 755-58 (3d Cir. 1999) (actual and apparent
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governmental authority and entrapment by estoppel); United States v. Weitzenhoff,

35 F.3d 1275, 1290 (9th Cir. 1994) (entrapment by estoppel). Those records will

show who PADEP recognized as the operators of the plant; and, specifically, the

records will show that Defendant Evans Sr. was not a plant operator. The records

will numerous inspections in which the PADEP does not issue violations or

admonitions; and, instead, approves the operation of the GTSA. In short, these

records will tend to make the fact that Defendant Evans Sr. was not criminally

responsible for the operation of the GTSA.


      Subpoena #2 for the GTSA


      The GTSA possesses records necessary to demonstrate that Defendant Evans

Sr. was not a plant operator and will show that he did not defraud the GTSA which

met monthly to approve bills related to expenses in running the sewer plant. The

GTSA records will show through Defendant Evans Sr. that his employment was as

a plant manager which involved issuing bills to recipients of the sewer services,

maintaining bank accounts and reporting to the sewer board. The records will also

reveal an internal audit in which Board members were interviewed and provided

exculpatory statements, as well as, impeaching evidence related to the Government

allegations of fraud by Defendant Evans Sr. The Government charges Defendant


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Evans Sr. with fraud in counts 6-13 of the Indictment directly related to expenses

for the GTSA. The GTSA records sought will provide evidence to the defense to

defend against both the false allegations regarding the environmental crimes and

the false claims of fraud. In short, these records will tend to establish the fact that

Defendant Evans Sr. was not criminally responsible for the operations of the

GTSA, and will tend to show that Defendant Evans Sr. did not defraud the GTSA.


      Subpoena #3 for AT&T


      ATT possesses billing records related to Defendant Evans Sr.’s services to

the GTSA. The Government charges the Defendant Evans Sr. with fraudulently

charging the GTSA for the payment of a $88.85 and a $90.85 telephone bill. See

Indictment, Counts 6-7. Obtaining those records is critical to the defense, and the

records are specifically relevant to the phone bills identified in Counts 6 and 7 of

the Indictment, and the records are generally relevant to establishing the fact that

Defendant Evans Sr. did not operate the sewer plant.


      Subpoena #4 for American Express


      American Express possesses records related to purchase for the GTSA, and

these records are critical to Defendant Evans Sr. defending himself against

allegations of fraud related to purchases for the GTSA. In Counts 6-13, the
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Government charged Defendant Evans Sr. with defrauding the GTSA in making

purchases related to the sewer plant. Counts 10 and 11 specifically reference the

American Express account and claim that they were not authorized. Obtaining

those records is critical to the defense. In short, these records will establish that

any purchases by Defendant Evans Sr. were done properly for the GTSA.


                           2. Admissibility


      Subpoena #1 for the PADEP


      The PADEP records are admissible as a statement of a party-opponent

pursuant to FRE 801(d)(2)(A). Statements and information contained in reports

are admissible as business records, Fed. R. Evid. 803(6), and as statements by

agents, Fed. R. Evid. 801(d)(2)(D).


      Subpoena #2 for the GTSA


      The records of Defendant Evans Sr.’s employment, compensation,

employment file, board records of purchases, board records of meetings, agendas,

votes, and approval of expenses are all business records pursuant to 803(6). The

internal audit, statements by board members, documents relied upon by auditors

are admissible as a declarant’s prior statement, Fed. R. Evid. 801(d)(1)(A-C).


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They would be admissible to attack a declarant’s credibility. See Fed. R. Evid.

806.


       Subpoena #3 for AT&T


       The telephone records would be admissible as a business record. Fed. R.

Evid. 803(6).


       Subpoena #4 for American Express


       The records would be admissible as a business record. Fed. R. Evid. 803(6).


                    3. Specificity


       All requests relate to specific counts of the Indictment of Bruce Evans Sr.

and/or the requests relate specifically to a defense of which the Government has

received a formal notice pursuant to Fed. R. Crim. P. 12.3. Additionally, the

defense has specified the way in which the evidence sought in the subpoenas

related directly to the multiple counts of the Indictment.




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IV.   CONCLUSION


      The Defendant’s Sixth Amendment right to subpoena records in his own

defense pursuant to Nixon, 418 U.S. at 708-09, Bowman Dairy Co. v. United

States, 341 U.S. 214, 219 (1951), and Burr, 25 F. Cas. at 191 support this Court’s

finding that the requested subpoenas should be approved.


      WHEREFORE, Defendant Bruce Evans Sr. respectfully requests this Court

grant the Motion to Authorize Subpoena Duces Tecum.

                                             Respectfully submitted,


                                             /s/ Patrick A. Casey
                                             Patrick A. Casey

                                             Attorney for Defendant,
                                             Bruce Evans, Sr.

Myers, Brier & Kelly, LLP
425 Spruce Street, Suite 200
Scranton, PA 18503
(570) 342-6100

Date: October 2, 2019




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                         CERTIFICATE OF SERVICE

      I, Patrick A. Casey, hereby certify that a true and correct copy of the

foregoing Memorandum of Law In Support of Motion to Authorize Subpoena

Duces Tecum was served upon the following counsel of record via the Court’s

ECF system on this 2nd day of October, 2019:


                           Michelle L. Olshefski, Esquire
                           U.S. Attorney’s Office
                           P.O. Box 309
                           235 North Washington Avenue
                           Scranton, PA 18501

                           Walter F. Casper, Jr., Esquire
                           P.O. Box 513
                           35 S. Church Street
                           Carbondale, PA 18407




                                                    /s/ Patrick A. Casey
